    Case: 1:19-cv-02519 Document #: 40 Filed: 06/25/19 Page 1 of 1 PageID #:3721




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

____________________________________
                                        )
General Tools & Instruments, LLC        )
                                        )            Case No. 1:19-cv-02519
              v.                        )
                                        )            Judge: Honorable Robert W. Gettleman
Does 1-2092, As Identified in Exhibit 2 )
                                        )            Magistrate: Honorable Sunil R. Harjani
                                        )
____________________________________)

                                  VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for Plaintiff, General Tools & Instruments, LLC, hereby notifies this Court that the

Plaintiff voluntarily dismisses with prejudice any and all claims against the following defendants:

 Defendant                 Merchant Name                           Email
 Doe 1170                  tobenoone                               tobeno1one@gmail.com
 Doe 1177                  fantastic_tune                          fantastic_tune@hotmail.com
 Doe 1231                  上海碧岚藤网络信息技术有限公司                         maymiiwish@hotmail.com
 Doe 1432                  More s/tore                             121377019@qq.com
 Doe 1835                  dmoleystore                             a382669740@163.com
 Doe 2053                  lanice                                  hujinjinnice@outlook.com

Dated: June 25, 2019
                                                                          Respectfully submitted,

                                                                            By:     /s/ Rishi Nair

                                                                                      Rishi Nair
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